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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                       Chapter 11

    BLANK LABEL GROUP, INC., et al.,                             Case No. 23-10286 (JTD)

                              Debtors. 1                         Jointly Administered

                                                                 Re D.I. 370



         NOTICE OF WITHDRAWAL OF APPEARANCE OF RICHARD C. SOLOW

             PLEASE TAKE NOTICE that counsel to Peter Furman, solely in his capacity as Litigation

Trustee for the BLG Litigation Trust (the “Litigation Trustee”), hereby gives notice of the

withdrawal of appearance Richard C. Solow of Pashman Stein Walder Hayden, P.C., effective

immediately.

                    PLEASE TAKE FURTHER NOTICE that the Litigation Trustee also requests

that Richard C. Solow be removed from all service lists, including the Court’s CM/ECF electronic

notification list effective immediately.

                    PLEASE TAKE FURTHER NOTICE that the representation of Litigation

Trustee by all of the attorneys of record of Pashman Stein Walder Hayden, PC in these cases are

unaffected by this notice.




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      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number are
      as follows Blank Label Group, Inc. (6183); BlackLapel Custom Clothiers, Inc. (3725); and Ratio Clothing, LLC
      (8330). The Debtors’ mailing address is 36 Bromfield Street, 204, Boston, MA 02108.
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Dated: October 30, 2024         PASHMAN STEIN WALDER
       Wilmington, Delaware     HAYDEN, P.C.

                                /s/ Joseph C. Barsalona II
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                                Counsel to Peter Furman, in his sole capacity as the
                                Litigation Trustee for the BLG Litigation Trust




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